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                                                                 Monday, 31 October, 2022 02:08:20 PM
                                                                          Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

MARIA LOPEZ and ALEXIS BROWN,                     )
individually and on behalf of all others          )
similarly situated,                               )
                                                  )
                     Plaintiffs,                  )
       v.                                         )       Case No. 21-CV-2317
                                                  )
RING, LLC,                                        )
                                                  )
                     Defendant.                   )

                                            ORDER

       Defendant, Ring, LLC, (“Ring”) filed a Motion to Compel Arbitration or Dismiss

First Amended Class Action Complaint (#19) on July 29, 2022. Plaintiffs, Maria Lopez

and Alexis Brown, individually and on behalf of all others similarly situated, filed their

Response (#21) on August 30, 2021. For the following reasons, Ring’s Motion to

Compel Arbitration or Dismiss First Amended Class Action Complaint (#19) is

GRANTED.

                                    BACKGROUND

       The following background is taken from the allegations in Plaintiffs’ Amended

Complaint (#16). At this stage of the proceedings, the court must accept as true all

material allegations of the Amended Complaint, drawing all reasonable inferences

therefrom in Plaintiffs’ favor. See Lewert v. P.F. Chang’s China Bistro, Inc., 819 F.3d 963,

966 (7th Cir. 2016). Further, in considering a motion to compel arbitration, the court

may consider exhibits and affidavits regarding the arbitration agreement, as courts
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deciding motions to compel arbitration apply a summary judgment standard in

accordance with Federal Rule of Civil Procedure 56(c). McClenon v. Postmates, Inc., 473

F.Supp.3d 803, 808 (N.D. Ill. 2020).

       Allegations in Amended Complaint

       General Allegations

       Ring is the leader in home security technology through the sale of its Ring

doorbells, which allow people to see what is happening outside of their residence. Ring

manufactures, labels, markets, and sells a video doorbell (“the Product”) under the Ring

brand. The Product’s battery life is represented as between 6 and 12 months. However,

this is a maximum duration, under minimal usage, in an ideal environment. Most

customers will not get two months of normal usage from a full battery charge, and will

experience “accelerated battery depletion” (“ABD”). “Normal usage” refers to 750-

1,000 events which a fully charged battery can endure. An event refers to any activity,

such as pushing a button, motion trigger, recording, live viewing, or speaking through

the camera. Motion triggers include deliveries, people walking down the block, cars,

and even wind which causes movement of leaves. Reports show that the average house

may have up to 50 motion triggers a day, which means 1,500 events in one month. Each

event drains the battery by sending recorded data to cloud storage via Wi-Fi.

       When the temperature decreases to around 36 degrees Fahrenheit, the Product’s

ability to retain a charge diminishes. Below this temperature, the battery may and often

does fail. Customer service typically points dissatisfied users to other external causes

for ABD, such as cold weather, distance from the router, and Wi-Fi signal strength.


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ABD occurs even when users have modified their settings to restrict motion triggers to

no more than five events per day. While Ring sells a solar charger to charge the battery,

it is defectively designed with high failure rates. Moreover, the power source will not

cause the battery to retain its charge any longer. Even when the Product is hardwired,

ABD persists.

       ABD significantly reduces the functionality of the Product. When a battery must

be recharged frequently, “it is a chore.” During the several hours when the Product is

unmounted from the wall to recharge the battery, a user’s home is vulnerable to the

exact condition they purchased the Product to avoid: not being able to see who is at or

near their door. Even the removable batteries fail to solve this issue, for reasons

including their additional cost and numerous repetitive setup steps. Lastly, the push

button suffers from a design flaw where it will easily split, often occurring outside of

the warranty period, and Ring does not replace or repair the Product. Since the button

is fundamental to the doorbell, this significantly impacts users.

       The Product contains other representations which are misleading. Had Plaintiffs

known the truth, they would not have bought the Product or would have paid less for

it. The Product is sold for a price premium compared to other similar products, no less

than between $60 and $300 per unit, based on make and model, with the solar charger

costing $75, a higher price than it would otherwise be sold for absent the misleading

representations and omissions.




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          Parties

          Ring is a Delaware limited liability company with its principal place of business

in California. Ring’s parent company is Amazon.com, Inc., which acquired Ring in

2018. Ring transacts business throughout the country. In the Central District of Illinois

it transacts business through the sale of the Product directly to residents from its

website, Amazon’s website, or through third-parties such as Best Buy and the QVC

home shopping channel.

          Plaintiff Lopez is a citizen of Decatur, Macon County, Illinois, and Plaintiff

Brown is a citizen of Philadelphia, Philadelphia County, Pennsylvania.

          Allegations Specific to Plaintiffs

          As part of Amazon, Ring has embraced Amazon’s “customer-centric culture.”

Plaintiffs were aware of this commitment to customer satisfaction when they bought the

Product, because they knew if anything went wrong Ring, or Amazon, would “make it

right.”

          Plaintiffs purchased the Product and the above-described accessories “on one or

more occasions within the statutes of limitations for each cause of action alleged.”

Plaintiff Lopez purchased the Product at stores including QVC, QVC.com, or the QVC

television channel between December 2020 and June 2021, among other times. Plaintiff

Brown purchased at stores including Amazon.com between 2019 and 2021, among other

times.




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         Plaintiffs bought the Product because they expected that it would maintain its

charge for the length of time represented, and that this duration would be determined

by considering realistic usage. They expected that it would not contain any defective

parts, and that the solar charger functioned as promised because that is what the

representations implied and said. Plaintiffs relied on the words and images on the

Product, on the labeling, and statements, and/or claims made by Ring in digital, print,

and/or social media that accompanied the Product.

         Plaintiffs bought the Product at or exceeding the above-referenced price.

Plaintiffs would not have bought the Product if they knew the representations and

omissions were false and misleading, or they would have paid less for it. They chose

between Ring’s Product and products represented similarly, but which did not

misrepresent their attributes, features, and/or components. The Product was worth

less than what Plaintiffs paid and they would not have paid as much absent Ring’s false

and misleading statements and omissions.

         Count I of the Amended Complaint alleges a violation of the Illinois Consumer

Fraud and Deceptive Business Practices Act (“ICFA”) (815 Ill. Comp. Stat. 505/1, et

seq.).

         Count II alleges Illinois common law breaches of express warranty, implied

warranty of merchantability/fitness for a particular purpose, and the federal Magnuson

Moss Warranty Act (15 U.S.C. § 2301, et seq.).

         Count IV alleges Illinois common law negligent misrepresentation.

         Count V alleges Illinois common law fraud.


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       Count VI alleges Illinois common law unjust enrichment.

       Plaintiffs seek the certification of a class, injunctive relief directing Ring to correct

the challenged practices and to remove or correct the alleged misrepresentations, and

monetary, statutory, and/or punitive damages.

       Arbitration Clause

       Ring attached to its Motion the Declaration of John Modestine (#19-3). Modestine

is the director of design at Ring, and has worked there since December 2014. He is

currently responsible for the Ring Mobile App Product Management and Product

Design. Based on his work and responsibilities, he is familiar with the agreements,

products, and practices that he discusses in his Declaration, and makes the Declaration

based on his own personal knowledge.

       Modestine states that the exterior packaging of all Ring video doorbells produced

from 2017 until mid-2020 states that “[u]se of the product is subject to your registration

with Ring and your agreement to the Terms of Service found at www.ring.com” or that

“[u]se of the product is subject to your registration with Ring and your agreement to the

Terms of Service found at www.ring.com/terms” Modestine attached as Exhibit A to

his Declaration (#19-4) a copy of the relevant portions of the exterior packaging for the

Product from April 2018. The exterior packaging for all other Ring video doorbells

produced from 2017 to mid-2020 presented the above-described language requiring a

user’s agreement to Ring’s Terms of Service in substantially the same location and

format as in the image in Exhibit A.




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       Modestine states that the exterior packaging from of all Ring doorbells produced

since mid-2020 state that “[b]y purchasing or using the product, you agree to the Terms

of Service found at www.ring.com/terms” or “[b]y purchasing or using the product,

you agree to the Terms of Service found at ring.com/terms.” Modestine attached as

Exhibit B to his Declaration (#19-5) a copy of the relevant portions of the exterior

packing for the Product from July 2020. The exterior packaging for all other Ring video

doorbells produced since mid-2020 present the above-described language requiring a

user’s agreement to Ring’s Terms of Service in substantially the same location and

format as this image.

       From May 2018 through the present, the webpage www.ring.com/terms has set

forth Ring’s Terms of Service. Those Terms of Service may also be accessed from the

www.ring.com homepage by clicking on the “Terms of Service” hyperlink located on

the homepage. Modestine attached to the Declaration Ring’s various Terms of Service

as they appeared since 2018: (#19-6) August 1, 2018 to October 23, 2019; (#19-7) October

23, 2019, to January 7, 2020; (#19-8) January 7, 2020 to March 4, 2020; (#19-9) March 4,

2020 to December 8, 2020; (#19-10) December 8, 2020 to September 28, 2021; (#19-11)

September 28, 2021 to April 12, 2022; and (#19-12) April 12, 2022, to present.

       Each version of the Terms of Service from August 1, 2018, to present contains an

arbitration agreement and a class action waiver. Additionally, in the very first or

second paragraph of each version of the Terms of Service from June 9, 2017, to present

Ring provided a hyperlink to quickly access the specific terms providing for arbitration

and the class action waiver.


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       Each version of Ring’s Terms of Service from August 18, 2017 until present has

included a hyperlink to the Dispute Resolution section of the Terms via the words

“DISPUTE RESOLUTION” in all caps in the first paragraph of the Terms. Each version

of Ring’s Terms of Service in effect from June 9, 2017 to October 23, 2019, contained the

terms of Ring’s return policy. Each version of Ring’s Terms of Service in effect from

October 23, 2019, to present have provided a hyperlink to Ring’s return policy and

included certain terms of that policy in the Terms of Service itself.

       Since at least 2016, to set up and manage the Product, Ring customers1 have been

required to download the Ring mobile application (“Ring app”) and register for a Ring

account through the Ring app or through Ring’s website. A customer could download

the Ring app from Apple’s “App Store,” Google’s “Google Play” store, or by visiting

www.ring.com/app. A customer could not set up a Ring device or access the Ring app

without going through the registration process and accepting Ring’s Terms of Service.

Likewise, a customer could not create a Ring account via the Ring app or website going

through the registration process and accepting Ring’s Terms of Service. A person could

not be a shared user of another person’s Ring devices without creating their own Ring

account.

       From October 2018 until May 2019, final step of the Ring app account registration

process was a “Password Creation” page. On that page, the customer was asked to

create a password for the account. The page stated: “By signing up, you agree to our



       1
       The court will use the terms “customers” and “users” interchangeably
throughout this Order.

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Terms of Service.” The underlined text denoted a hyperlink to the Terms of Service

found on Ring’s website. A customer who clicked the hyperlink was routed to the full

version of Ring’s Terms of Service, including the arbitration agreement and waiver of

class provision. The quoted language was prominently displayed immediately below

where a customer was required to input a password. Modestine attached a copy of the

“Password Creation” page (#19-13) as it would have appeared to a customer registering

for a Ring account via the Ring app from October 2018 to May 2019.

      After entering a password, a customer was required to tap or click the “Done”

button on the “Password Creation” page to create a Ring account. By entering a

password and clicking the “Done” button, a customer accepted Ring’s Terms of Service.

Only after clicking “Done” was a customer then able to set up a Ring device that he or

she purchased for use.

      The Ring app account registration process was revised in May 2019. The last

step of the May 2019 account registration process is a “Password Creation” page. On

the May 2019 page, the customer was asked to create a password for the account. The

page contained a “Create Account” button, directly above which was the statement: “By

continuing you agree to Ring’s Terms of Service.” “Terms of Service” appeared in blue

text, which denoted a hyperlink to the Terms of Service found on Ring’s website. A

customer who clicked on the hyperlink was routed to the full version of the Terms of

Service, including the arbitration agreement and waiver of class provision. The quoted

language was prominently displayed immediately above where a customer was

required to click the “Create Account” button to continue. Modestine attached to his


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Declaration a copy (#19-14) of the “Password Creation” page that appeared to a

customer registering for a Ring account via the Ring app from May 2019 to September

2020.

        After entering a password, the customer was then required to click the “Create

Account” button on the “Password Creation” page to create a Ring account. By

entering a password and clicking the “Create Account” button, a customer accepted

Ring’s Terms of Service. Only after clicking “Create Account” was a customer then able

to set up a Ring device that they purchased for use.

        In September 2020, the “Password Creation” page in the Ring app account

registration process was revised yet again, this time to incorporate enhanced password

security requirements. As before, the customer was asked to create a password and to

agree to the Terms of Service on the “Password Creation” page. This page contains a

“Create Account” button, directly above which was the statement “By continuing, I

agree to Ring’s Terms of Service.” Again, “Terms of Service” was in blue text, which

denoted a hyperlink to the Terms of Service found on Ring’s website. A customer who

clicked on the hyperlink was routed to the full version of Ring’s Terms of Service,

including the arbitration and waiver of class provisions. The hyperlink to the Terms of

Service is the first hyperlink that appears in the “Password Creation” portion of the

page. Modestine attached to his Declaration a copy (#19-15) of the “Password

Creation” page that appeared to a customer registering for a Ring account via the Ring

app from September 2020 onward. As before, after entering a password, a customer




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must tap the “Create Account” button on the “Password Creation” page to create a Ring

account. By entering a password and clicking the “Create Account” button, a customer

accepted Ring’s Terms of Service.

       The process for creating a Ring account using Ring’s website was almost

identical to the process described above for creating a Ring account using the Ring app,

requiring users to check a box during the website account registration process to

indicate agreement to the Terms of Service before moving on to the next step (February

2018 to April 2019) or requiring users to click a “Create Account” button directly below

the text stating “By continuing you agree to Ring’s Terms of Service” (since April 2019).

       The Terms of Service themselves make very clear, from the very first line, that

the agreement the user has assented to is subject to arbitration, stating: “IMPORTANT

NOTICE: THIS AGREEMENT IS SUBJECT TO ARBITRATION AND A WAIVER OF

CLASS ACTION RIGHTS AS DETAILED IN THE DISPUTE RESOLUTION SECTION.”

       In all relevant versions of the Terms of Service, the first paragraph under the

heading “Terms of Service” summarized important provisions, including stating that

the Terms of Service contain an arbitration agreement and warning the user that

arbitration on an individual basis means that the user waves the right for a judge or jury

to decide his claim. Within that paragraph, the arbitration agreement is hyperlinked to

take the user directly to that provision. The “Dispute Resolution” section of the Terms

of Service, which is also hyperlinked, is in all caps, directs the user to read it carefully,

and states that the user and Ring agree that any dispute or claim rising out of the user’s

use of the services and the products to the agreement “SHALL BE RESOLVED ONLY


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BY FINAL AND BINDING, BILATERAL ARBITRATION.” The section also states the

Federal Arbitration Act applies to the agreement and governs all questions as to

whether a dispute is subject to arbitration. The section then describes the arbitration

process in detail, including a hyperlink to the applicable JAMS (formerly known as the

Judicial Arbitration and Mediation Services) rules for arbitration.

       The Terms of Service define “Disputes” broadly. Additionally, during the

relevant time, the Terms of Service included a delegation clause that provided that the

arbitrator shall have the exclusive authority to resolve all disputes arising out of or

relating to the Terms of Service, including “whether a claim is subject to arbitration.”

                                    ANALYSIS

       Ring argues that: (1) this case must be sent to arbitration because Plaintiffs bound

themselves to Ring’s Terms of Service when they (a) purchased and used the Product

after being notified on the Product’s exterior packaging that those acts would bind them

to the Terms of Service and (b) they agreed for a second time to Ring’s Terms of Service

when creating a Ring account; and (2) that, in the alternative to arbitration, the case

should be dismissed for failure to state a claim in that (a) Plaintiffs do not plead their

fraud-based claims with particularity as required by Federal Rule of Civil Procedure

9(b); (b) Plaintiffs’ Amended Complaint fails to plead the essential elements of their

breach of warranty claims; and (c) the economic loss doctrine bars Plaintiffs’ negligent

misrepresentation claim.




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       Arbitration

       Ring argues that this case must be sent to binding arbitration because the

arbitration provision of its Terms of Service governs Plaintiffs’ claims, and that Plaintiffs

agreed to be bound by the arbitration agreement when they agreed to Ring’s Terms of

Service upon purchase of the Product and their creation of a Ring account.

       Arbitration Law

       “The Federal Arbitration Act (“FAA”) [9 U.S.C. § 1 et seq.] was originally enacted

‘to reverse the longstanding judicial hostility to arbitration agreements that had existed

at English common law and had been adopted by American courts, and to place

arbitration agreements upon the same footing as other contracts.’” Kawasaki Heavy

Industries, Ltd. v. Bombardier Recreational Products, Inc., 660 F.3d 988, 994 (7th Cir. 2011),

quoting Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 24 (1991). “In furtherance of

this goal, the FAA ‘provides for stays of proceedings in federal district courts when an

issue in the proceeding is referable to arbitration, § 3, and for orders compelling

arbitration when one party has failed, neglected, or refused to comply with an

arbitration agreement, § 4.’” Kawasaki, 660 F.3d at 994, quoting Gilmer, 500 U.S. at 25; 9

U.S.C. §§ 3-4. The FAA reflects a “liberal federal policy favoring arbitration.” AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011).

       “Under the FAA, a court must compel arbitration ‘if three elements are present:

(1) an enforceable written agreement to arbitrate, (2) a dispute within the scope of the

arbitration agreement, and (3) a refusal to arbitrate.’” Vandehey v. Asset Recovery

Solutions, LLC, 2018 WL 6804806, at *6 (E.D. Wis. Dec. 27, 2018), quoting A.D. v. Credit


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One Bank, N.A., 885 F.3d 1054, 1060 (7th Cir. 2018). “[O]nce an enforceable arbitration

contract is shown to exist, questions as to the scope of arbitrable issues should be

resolved in favor of arbitration.” Scheurer v. Fromm Family Foods LLC, 863 F.3d 748, 752

(7th Cir. 2017).

       As the party seeking to compel arbitration, Ring bears the burden of proving the

existence of an agreement to arbitrate by a preponderance of the evidence. Mohammed

v. Uber Technologies, Inc., 2018 WL 1184733, at *5 (N.D. Ill. Mar. 7, 2018). However, once

the existence of the agreement to arbitrate is shown, Plaintiffs, as the party seeking to

invalidate or oppose the arbitration agreement, bear “the burden of demonstrating that

the arbitration agreement is unenforceable and that the claims are unsuitable for

arbitration.” Paragon Micro, Inc. v. Bundy, 22 F.Supp.3d 880, 887 (N.D. Ill. 2014).

Further, “[a] party opposing a motion to compel arbitration bears the burden of

identifying a triable issue of fact as to the existence of the purported arbitration

agreement.” Mohammed v. Uber Technologies, Inc., 237 F.Supp.3d 719, 725 (N.D. Ill. 2017),

citing Tinder v. Pinkerton Security, 305 F.3d 728, 735 (7th Cir. 2002). The opposing party’s

evidentiary burden is akin to that of a party opposing summary judgment under

Federal Rule of Civil Procedure 56, in that “‘a party cannot avoid compelled arbitration

by generally denying the facts upon which the right to arbitration rests; the party must

identify specific evidence in the record demonstrating a material factual dispute for

trial.’” Mohammed, 237 F.Supp.3d at 725, quoting Tinder, 305 F.3d at 735. The court must

believe the evidence of the party opposing arbitration and draw all justifiable inferences

in its favor. Mohammed, 237 F.Supp.3d at 725.


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       What Law Governs

       “Federal courts must rely on state contract law governing the formation of

contracts to decide whether the parties have agreed to arbitrate a particular issue.”

Paragon, 22 F.Supp.3d at 887. In other words, they “look to state contract law to

determine whether a valid arbitration agreement exists between parties.” Paragon, 22

F.Supp.3d at 887. When, such as in this case, the federal court’s jurisdiction over the

plaintiffs’ claims is based on the parties’ diversity of citizenship,2 the court, as a general

rule, “‘look[s] to the substantive law of the state in which the district court sits,

including choice of law rules[.]’” Jackson v. Payday Financial, LLC, 764 F.3d 765, 774 (7th

Cir. 2014), quoting Wachovia Securities, LLC v. Banco Panamericano, Inc., 674 F.3d 743, 751

(7th Cir. 2012) (internal citations omitted).

       The forum state is Illinois. However, the Terms of Service, post-August 1, 2018,

contain a “Jurisdiction and Choice of Law” section which states “These Terms shall be

governed by and construed in accordance with the laws of the State of California and

the United States of America, without giving effect to any principles of conflicts of law.”


       2
        When a case is in federal court as a putative class action under the Class Action
Fairness Act, the court still analyzes the claim as being in court on diversity grounds on
issues such as choice-of-law, and applies the choice-of-law rules of the forum state. See
Texas Hill Country Landscaping, Inc. v. Caterpillar, Inc., 522 F.Supp.3d 402, 411 (N.D. Ill.
2021); Sosa v. Onfido, Inc., 8 F.4th 631, 637 (7th Cir. 2021). Further, although Plaintiffs
make a claim under the federal Magnuson Moss Warranty Act, that statute has
additional criteria to invoke federal question jurisdiction. Ware v. Best Buy Stores, L.P., 6
F.4th 726, 731 (7th Cir. 2021). The statute “provides that federal courts do not have
federal-question jurisdiction over breach-of-warranty actions under the Act ... ‘if the
action is brought as a class action, and the number of named plaintiffs is less than one
hundred.’” Ware, 6 F.4th at 731, quoting 15 U.S.C. § 2310(d)(3)(C) (emphasis in Ware).
That is the case in this instant action, so there is no federal question jurisdiction.

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       Ring argues that California law should govern whether the arbitration agreement

is valid and enforceable. “Federal district courts exercising diversity jurisdiction are to

apply the choice of law principles of the forum state to determine which state’s

substantive law governs the proceeding.” Falkenberg v. CB Tax Franchise Systems, LP,

2009 WL 10681238, at *1 (S.D. Ill. Mar. 24, 2009). “Then looking at Illinois’ choice-of-law

rules, ‘a court must honor a contractual choice of law unless the parties’ choice of law

would violate fundamental Illinois public policy and Illinois has a materially greater

interest in the litigation than the chosen state.’” Evoqua Water Technologies, LLC v. AFAM

Concept Inc., 2022 WL 117769, at *2 (N.D. Ill. Jan. 12, 2022), quoting Life Plans, Inc. v.

Security Life of Denver Ins. Co., 800 F.3d 343, 357 (7th Cir. 2015).

       Plaintiffs, in their Response, did not respond to Ring’s argument that California

law should govern the arbitration issue. Failure to respond to an opposing party’s

arguments concedes those points and arguments. Noble Roman’s, Inc. v. Union Valley

Tiger Mart, 2015 WL 4876074, at *3 (S.D. Ind. Aug. 14, 2015), citing Bonte v. U.S. Bank,

N.A., 624 F.3d 461, 466 (7th Cir. 2010) (“Failure to respond to an argument ... results in

waiver,” and “silence leaves us to conclude” a concession.); Myers v. Thoman, 2010 WL

3944654, at *4 (S.D. Ind. Oct. 6, 2010) (“The Seventh Circuit has clearly held that a party

who fails to respond to points made ... concedes those points.” ); Cintora v. Downey, 2010

WL 786014, at *4 (C.D. Ill. Mar. 4, 2010) (“The general rule in the Seventh Circuit is that

a party’s failure to respond to an opposing party's argument implies concession.”).




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This rule applies when a party fails to contest a choice of law issue. See Savis, Inc. v.

Cardenas, 528 F.Supp.3d 868, 878 (N.D. Ill. 2021) (“As Savis argues in its reply, Dkt. No.

167 at 1-2, ‘[t]he choice-of-law issue is waived if a party fails to raise it.’”).

       Therefore, the court finds that Plaintiffs have waived any argument in opposition

and thus conceded that California law applies to determine the validity of the

arbitration agreement and its applicability to this case. The court would note that the

choice of law provision at issue is only a choice of law, and not a forum selection clause,

thus this court is only applying California law, and not transferring the case to a

California court. Ring has made no argument that this court should do so.

       Analysis Under California Law

       Ring argues that Plaintiffs agreed to Ring’s terms by: (1) purchasing and/or

using the Product based on the “actual or constructive notice of the Terms” provided by

the exterior packaging of the Product that directed purchasers to Ring’s website, where

the Terms of Service were located; and (2), alternatively, Plaintiffs assented to the Terms

of Service, including the arbitration agreement, by creating a Ring account. Plaintiffs

respond that: (1) they did not have reasonable notice based on the packaging and

website; and (2) Plaintiffs did not manifest assent to the Terms of Service through

creating a Ring account because: (a) the Ring registration process did not require

“affirmative action” by Plaintiffs to agree to the terms of contract other than their use of

the service, and thus was not a “clickwrap” agreement; and (b) though Plaintiffs

“encountered the Terms at the same time they consummated their registration,”




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Plaintiffs were not put on notice of their assent to the Terms because the screen was

cluttered with “numerous hyperlinks” so that Plaintiffs were distracted and whatever

notice was provided by the Terms of Service was diluted.

       To determine whether a valid arbitration agreement exists, federal courts apply

ordinary state law principles that govern the formation of contracts. Dohrmann v. Intuit,

Inc., 823 Fed.Appx. 482, 483 (9th Cir. Aug. 11, 2020). “The internet has ‘not

fundamentally changed the requirement that mutual manifestation of assent, whether

by written or spoken word or by conduct, is the touchstone of contract.’” Dohrmann, 823

Fed.Appx. at 483, quoting Long v. Provide Commerce, Inc., 200 Cal.Rptr.3d 117, 123 (Cal.

Ct. App. 2016). “Under California law, ‘[c]ourts must determine whether the outward

manifestations of consent would lead a reasonable person to believe the offeree has

assented to the agreement.’” Lee v. Ticketmaster, LLC, 817 Fed.Appx. 393, 394 (9th Cir.

June 12, 2020), quoting Knutson v. Sirius XM Radio, Inc., 771 F.3d 559, 565 (9th Cir. 2014).

Mutual assent does not require that the offeree have actual notice of the terms of an

arbitration agreement, but, rather, “an offeree is bound by an arbitration clause if ‘a

reasonably prudent Internet consumer’ would be put on ‘inquiry notice’ of the

‘agreement’s existence and contents.’” Dohrmann, 823 Fed.Appx. at 423, quoting Long,

200 Cal.Rptr.3d at 123.

       The Ninth Circuit, in Lee and Dohrmann, had opportunity to discuss the two

“typical” type of Internet contracts that are relevant to this case: “clickwrap” or

“browsewrap” agreements. Dohrmann, 823 Fed.Appx. at 483; Lee, 817 Fed.Appx. at 394.

Clickwrap agreements are those in which website users are required to click on an “I



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agree” box after being presented with a list of the terms and conditions of use; and

browsewrap agreements are those in which a website’s terms and conditions of use are

generally posted on the website via a hyperlink at the bottom of the screen. Dohrmann,

823 Fed.Appx. at 483.

       The validity of a browsewrap contract depends on whether the user has actual or

constructive knowledge of a website’s terms and conditions. Dohrmann, 823 Fed.Appx.

at 483-84. The Ninth Circuit is “‘more willing to find the requisite notice for

constructive assent where the browsewrap agreement resembles a clickwrap

agreement—that is, where the user is required to affirmatively acknowledge the

agreement before proceeding with the use of the website.’” Lee, 817 Fed.Appx. at 394,

quoting Nguyen v. Barnes & Noble, Inc., 763 F.3d 1171, 1176 (9th Cir. 2014). “Likewise,

‘where the website contains an explicit textual notice that continued use will act as a

manifestation of the user’s intent to be bound, courts have been more amenable to

enforcing browsewrap agreements.’” Lee, 817 Fed.Appx. at 394, quoting Nguyen, 763

F.3d at 1177; Dohrmann, 823 Fed.Appx. at 484. Courts are directed to look to the

conspicuousness and placement of the “Terms of Use” hyperlink, other notices given to

users of the terms of use, and the website’s general design in assessing whether a

reasonably prudent user would have inquiry notice of a browsewrap agreement.

Dohrmann, 823 Fed.Appx. at 484.

       The court finds instructive, and persuasive, the district court’s decision in In re

Ring LLC Privacy Litigation, 2021 WL 2621197 (C.D. Cal. June 24, 2021). In that case, the

plaintiffs sued Ring in a class complaint alleging that Ring’s security systems were



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defectively designed without sufficient security protocols, leaving the plaintiffs who

used the system vulnerable to cyberattack, identity theft, and physical harm. The

relevant temporal period when the plaintiffs purchased and used the Ring products

was July 2017 to December 2019.

      The exterior packaging of the Ring video doorbell and camera products stated

either that “[u]se of the product is subject to your registration with Ring and your

agreement to the Terms of Service found at www.ring.com” or that “[u]se of the

product is subject to your registration with Ring and your agreement to the Terms of

Service found at www.ring.com/terms.”3 In order to set up and use the device, the user

had to download the Ring app and register for a Ring account, either through the Ring

app or Ring website.

      From May 2017 until June 2018, the user was required to check a box during the

account registration process to indicate agreement to the Terms before moving on to the

next step of the registration process. From June 2018 through January 2020, the user

was required to create a password at the last step of the account registration process,

and was notified that by completing account registration they agreed to the Terms. The

user was then required to click a button that appeared below the text notifying the user

that by continuing with account registration, the user indicated assent to the Terms.




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        As in the instant case, the court’s information concerning the Ring product
packaging, Terms of Service, and online account registration came from the declaration
of John Modestine. Ring LLC Privacy, 2021 WL 2621197, at *2.

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       The user also had the option of registering for a Ring account via Ring’s website.

From February 2018 until April 2019, the user was required to check a box agreeing to

the Terms to proceed in creating an account on the website. From April 2019 through

January 2020, the text “[b]y continuing you agree to Ring’s Terms of Service” appeared

directly above a large “Create Account” button.

       Since August 18, 2017, all iterations of the Terms included an arbitration clause

and class waiver. The section entitled “Dispute Resolution” stated that “[t]he Federal

Arbitration Act (the ‘FAA’) ... and federal arbitration law apply to this Agreement and

govern all questions as to whether a dispute is subject to arbitration.” The section

further stated that the parties “agree that any dispute, controversy, or claim arising out

of, or relating to your use of the services and products, to this agreement, or to the

content, any relationship between us and/or any recording on the services and/or

products shall be resolved only by final and binding, bilateral arbitration.”

       The Terms also stated that “[d]isputes shall include, but are not limited to, any

claims or controversies between you and Ring against each other related in any way to

or arising out of in any way from this Agreement, the Services, the Products, and/or the

Content[.]” In addition, the Terms provided that “[t]he term ‘you,’ as used in these

Terms, includes any person or entity who is the owner of the Product and creates an

account associated with the Product (‘Owner’), as well as any person or entity

authorized to access or use the Owner's Products and Services (‘Authorized Users’).”




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       Since August 18, 2017, the Terms contained a delegation clause stating that the

arbitrator “shall have exclusive authority to resolve all disputes arising out of or

relating to the interpretation, applicability, enforceability or formation of these Terms,

including, but not limited to any claim that all or any part of these Terms are void or

voidable, or whether a claim is subject to arbitration.”

       In support of its motion to compel arbitration, Ring argued that because each

plaintiff purchased a Ring product, created a Ring account, and/or used Ring’s services,

each plaintiff also consented to Ring’s Terms of Service, which required individual

arbitration for all disputes arising out of or relating to Ring’s products or services.

Specifically, Ring argued that each plaintiff was put on constructive notice of the

arbitration clause by one or more of the following: (1) the products’ packaging; (2) the

Ring app or website when signing up for and creating a Ring account; and (3) the

litigation.

       The court noted that there was no evidence that the plaintiffs had actual

knowledge of the arbitration clause, and, as a result, the validity of the arbitration

clause “turn[ed] on whether the [packaging, App, or Website] put[ ] a reasonably

prudent user on inquiry notice of the terms of the contract.” Ring LLC Privacy, 2021 WL

2621197, at *4, quoting Nguyen, 763 F.3d at 1177. The court wrote that “[t]o determine

whether a user has inquiry notice of the contract terms, courts assess ‘the design and

content of the website and the agreement’s webpage[,]’ including ‘the conspicuousness




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and placement of the ‘Terms of Use’ hyperlink, other notices given to users of the terms

of use, and the website’s general design.’” Ring LLC Privacy, 2021 WL 2621197, at *4,

quoting Nguyen, 763 F.3d at 1177.

       The court then went on to discuss the recent developments in case law

concerning clickwrap and browsewrap agreement as articulated in the Nguyen, Lee, and

Dohrmann decisions. Surveying case law, the court concluded that “[w]hile other

persuasive authorities are all over the map in terms of what website features are

sufficient to provide inquiry notice, it appears that the majority of California district

courts take the Dohrmann and Lee approach[,]” holding “that a modified or hybrid

clickwrap/browsewrap agreement constitutes a binding contract where the user is

provided with an opportunity to review the terms of service in the form of a hyperlink

immediately above or below a button that must be clicked to affirmatively acknowledge

the terms, place an order, or register for an account.” Ring LLC Privacy, 2021 WL

2621197, at *5 (citing cases).

       Applying the Dohrmann and Lee approach to Ring’s account signup, the court

found that “at least four versions” of the account signup page (dated May 2017 to June

2018) resembled a clickwrap agreement “in that they required the user to affirmatively

acknowledge the agreement before the user could create the account[,]” and that

“Ring’s Terms of Service in these four versions of the Ring App and Website are even

more conspicuous than the terms of use in Dohrmann and Lee because they required

users to check a box affirmatively indicating that they agreed with Ring’s Terms of

Service before users could proceed to creating an account.” Ring LLC Privacy, 2021 WL



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2621197, at *6. “As in Dohrmann and Lee, the warning statement also hyperlinked the

Terms of Service containing the arbitration clause[,]” and thus “[t]hese four versions of

the Ring account signup page provided sufficient notice to a reasonably prudent

internet user of Ring’s Terms of Service and arbitration clause.” Ring LLC Privacy, 2021

WL 2621197, at *6.

       The court then found that three other versions of the Ring app and website (from

July 2018 to present) contained “an explicit textual notice that creating an account will

act as a manifestation of the user’s intent to be bound by the Terms of Service[,]” and

that “[t]hese versions of the Ring App and Website are arguably more conspicuous than

the sign-in page in Dohrmann because the pages are less cluttered.” Ring LLC Privacy,

2021 WL 2621197, at *6. The court wrote that “[i]n at least in two versions [dating from

May 2019 on the Ring app and from April 2019 on the Ring website, the same interfaces

at issue in the instant case], the warning text likewise appears directly above or below

the create account button, and hyperlinks the Terms of Service, as denoted by the blue

text.” Ring LLC Privacy, 2021 WL 2621197, at *6. The court concluded that “[t]hese two

versions of the App and Website provided sufficient notice to a reasonably prudent

internet user of Ring’s Terms of Service and arbitration clause.” Ring LLC Privacy, 2021

WL 2621197, at *6.

       The court further found that, “[a]lthough the version of the Ring App depicted in

Exhibits N and O [dating from June 2018 to April 2019] does not hyperlink the Terms in

blue text, the warning text appears immediately below where the user enters her

password, the Terms are underlined, and there are hardly any other words on the



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page.” Ring LLC Privacy, 2021 WL 2621197, at *6. While the court found it to be “a

much closer call,” it ultimately determined “that this version of the Ring App also

provided sufficient constructive notice of the Terms.” Ring LLC Privacy, 2021 WL

2621197, at *6.

       Finally, the court rejected the plaintiffs’ argument that Dohrmann was

“distinguishable because TurboTax users received notice of the terms of use every time

they signed in to their accounts, whereas here, Ring notified users of the Terms of

Service only once at the time of sign up.” Ring LLC Privacy, 2021 WL 2621197, at *6. The

court determined that the “problem with this argument [was] that the Ninth Circuit’s

determination in Dohrmann did not turn on the fact that users received notice of the

terms of use multiple times, but that the location and color of the hyperlinks, as well as

the uncluttered design of the Website, made the warnings and terms of use sufficiently

conspicuous.” Ring LLC Privacy, 2021 WL 2621197, at *6.

       As described above, the Ring app and website account setups from Ring LLC

Privacy are identical to the ones at issue in this case, in particular the account setup

interface from July 2018 to present.4 Compare Ring LLC Privacy, 2021 WL 2621197, at *2-

3, 5-6, with, supra pgs. 6-11. Further, as in Ring LLC Privacy, Plaintiffs do not dispute

that Modestine’s declaration accurately describes the function and appearance of the

Ring app and website account setup. Nor do Plaintiffs dispute that, in order to use the

Product as they allege they did in the Amended Complaint, Plaintiffs would have had


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       Because the court finds the notice provided by the Ring website and app account
signup pages dispositive of the issue of whether a valid arbitration agreement existed,
the court need not discuss the notice provided by the Product’s exterior packaging.

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to engage in and complete the registration process as described and as it existed from

2019 to present. Rather, Plaintiffs argue only that they did not have reasonable notice of

the arbitration agreement and did not manifest assent to it because: (1) the app and

website account registration process requires “no affirmative action” by Plaintiffs to

agree other than their use of the Product; and (2) although Plaintiffs did encounter the

Terms of Service at the same time that they consummated their registration, “the

respective screens contain numerous hyperlinks which contribute to the general clutter

of the screen,” including a privacy notice and a button “if the user already has an

account,” which dilutes the effectiveness of the notification informing customers “that

hitting ‘Create Account’ represents assent to the Terms.”

       For the same reasons stated by the court in Ring LLC Privacy, this court finds

Plaintiffs’ arguments in this respect unavailing. Plaintiffs purchased and used the

Product, and thus signed up for accounts on the Ring website or app, between 2019 and

2021, as a customer could not set up the Product or access the app without going

through the registration process and accepting Ring’s Terms of Service. The “Password

Creation” page from October 2018 to May 2019 explicitly told the user that they were

agreeing to the Terms of Service by signing up, with a hyperlink to the Terms of

Service, which included the arbitration agreement and class waiver. This language was

prominently displayed immediately below where a customer was required to input a

password. The same applies for the updated Ring account registration pages from May

2019 and September 2020. All versions contained a variation of the Password Creation

page, requiring the customer to create a password for the account, and prominently



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advising the customer that, by doing so, they were agreeing to the Terms of Service,

with the Terms of Service, including the arbitration agreement, hyperlinked. Finally, all

the versions Plaintiffs would have seen required the customer, after creating the

password, to click a button (whether “Done” or “Create Account”), affirmatively

accepting the Terms of Service, prominently and conspicuously displayed directly

above or below the button to be clicked.

      The web pages in question, whether on the website or app, prominently and

clearly display the Terms of Service to which the customer is agreeing by creating and

registering their account. The Terms of Service are hyperlinked, directly providing the

customer with the opportunity to review the Terms, including the arbitration

agreement, before proceeding. Contra Plaintiffs’ argument, the versions of the Ring app

and website that existed during this period contained “an explicit textual notice that

creating an account will act as a manifestation of the user’s intent to be bound by the

Terms of Service[,]” and “are arguably more conspicuous than the sign-in page in

Dohrmann because the page is less cluttered.” See Ring LLC Privacy, 2021 WL 2621197,

at *6. The “Create Password” page is hardly “cluttered” with hyperlinks. The only

other “clutter” on the page is the “Privacy Notice,” but that does nothing to “dilute” or

detract from the clear presence of the Terms of Service hyperlink.

      Plaintiffs validly assented to Ring’s Terms of Service, including the arbitration

agreement, when they created their user accounts on the Ring app website, where the

app or website displayed the phrase, “By continuing you agree to Ring’s Terms of

Service” and by clicking the “Done” or “Create Account” button when creating their



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account, where the “Terms of Service” was displayed in blue font and contained a

hyperlink to Ring’s Terms. See Lee, 817 Fed.Appx. at 394-95. Thus, Ring’s website

required users to “affirmatively acknowledge the agreement before proceeding,” and

“the website contain[ed] an explicit textual notice that continued use will act as a

manifestation of the user’s intent to be bound[.]” See Lee, 817 Fed.Appx. at 395, citing

Nguyen, 763 F.3d at 1176-77. Plaintiffs cannot avoid the terms of the arbitration

agreement on the ground that the page displaying the Terms of Service hyperlink was

too “cluttered” or that they were not required to actively agree to the Terms of Service

themselves by clicking on a button, especially when they had a legitimate opportunity

to review it. See Lee, 817 Fed.Appx. at 395. Thus, the court finds that a valid arbitration

agreement between the parties exists.

       For the above reasons, Ring’s Motion to Compel Arbitration is GRANTED.

       Arbitration Does Not Encompass Class Claims

       Next, Ring argues that Plaintiffs can only proceed in individual, not collective,

arbitrations. The arbitration agreement in the Terms of Service clearly state, at the very

beginning, that the Terms contain information about a “class action waiver, and an

arbitration provision, requiring [the user] to arbitrate any claims [they] may have

against Ring on an individual basis.” The Terms include a section, in all caps, stating

“WE EACH AGREE THAT ANY DISPUTE RESOLUTION PROCEEDINGS WILL BE

CONDUCTED ON AN INDIVIDUAL BASIS AND NOT IN A CLASS,

REPRESENTATIVE OR PRIVATE ATTORNEY GENERAL ACTION.”




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       The court finds that the arbitration agreement validly requires Plaintiffs to

arbitrate their claims individually, and not as a class. See Lee v. Uber Technologies, Inc.,

208 F.Supp.3d 886, 889, 894 (N.D. Ill. 2016) (enforcing arbitration agreement requiring

arbitration disputes to be resolved on individual, not class, basis). Plaintiffs do not

argue otherwise.

       Issues of Arbitrability are Delegated to the Arbitrator

       Finally, in applying the FAA, the U.S. Supreme Court has “held that parties may

agree to have an arbitrator decide not only the merits of a particular dispute but also

‘gateway questions of arbitrability, such as whether the parties have agreed to arbitrate

or whether their agreement covers a particular controversy.’” Henry Schein, Inc. v. Archer

and White Sales, Inc., 139 S.Ct. 524, 529 (2019) (cleaned up), quoting Rent-A-Center West,

Inc. v. Jackson, 561 U.S. 63, 68-69 (2010). The Court has “explained that an ‘agreement to

arbitrate a gateway issue is simply an additional, antecedent agreement the party

seeking arbitration asks the federal court to enforce, and the FAA operates on this

additional arbitration agreement just as it does on any other.’” Henry Schein, 139 S.Ct. at

529, quoting Rent-A-Center, 561 U.S. at 70.

       The Terms of Service clearly, and unmistakably, state that “the arbitrator, and

not any federal, state, or local court or agency, shall have exclusive authority to resolve

all disputes arising out of or relating to the interpretation, applicability, enforceability,

or formation of these terms, including, but not limited to any claim that all or any part

of these Terms are void or voidable, or whether a claim is subject to arbitration.”

Because this clause clearly and unmistakably delegates threshold issues to an arbitrator,



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including arbitrability and enforceability, the court will not resolve any disputes as to

whether any particular claim is arbitrable, and will defer to the arbitrator. See Ring LLC

Privacy, 2021 WL 2621197, at *6, citing Henry Schein, 139 S. Ct. at 530 (explaining that,

before referring a dispute to an arbitrator, a court must first determine whether a valid

arbitration agreement exists; if the agreement does exist, and “if it delegates the

arbitrability issue to an arbitrator, the court may not decide the arbitrability issue”).

       Motion to Dismiss

       Since the court has granted Ring’s request to compel arbitration, the court need

not rule on whether Plaintiffs’ claims should be dismissed pursuant to Federal Rule of

Civil Procedure 12(b)(6).

       Status of Case

       This case was administratively closed on June 1, 2022, pending resolution of the

instant motion. Because the court has compelled arbitration, this case will remain

administratively closed.

       IT IS THEREFORE ORDERED:

       (1)    Ring’s Motion to Compel Arbitration or Dismiss First Amended Class

              Action Complaint (#19) is GRANTED.

       (2)    This case remains administratively closed until arbitration has been held

              in accordance with the terms of the arbitration agreement found in Ring’s

              Terms of Service. The parties are hereby COMPELLED to resort to

              arbitration.




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(3)   The parties are ordered to file a status report in February 2023, and every

      August and February thereafter until the arbitration is complete, and to

      file a final status report within 30 days of the completion of the arbitration.


      ENTERED this 31st day of October, 2022.



                           s/ COLIN S. BRUCE
                          U.S. DISTRICT JUDGE




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